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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION



 JOHN DOE,                                              CASE NO. 1:20-CV-123-JRS-DML

                   Plaintiff,

           v.

 INDIANA UNIVERSITY, PROVOST                            NOTICE OF SUPPLEMENTAL
 LAUREN ROBEL, KATHY ADAMS-                             AUTHORITY RELEVANT TO
 REISTER, LIBBY SPOTTS, ROBERT                          PLAINTIFF’S MOTION FOR TRO
 BILLINGHAM, MICHAEL COURTNEY
 AND GRANT VOGTMAN,


                  Defendants.



           Plaintiff John Doe, by and through his attorney, submits a copy of the January 23, 2020

 Temporary Restraining Order issued by the U.S. District Court for the District of Connecticut in

 Doe v. University of Connecticut, et al., Case No. 20CV92. 1 We offer this decision (and the

 following summary analysis) as persuasive authority supporting the issuance of a TRO in this

 matter.

           Notably, the Connecticut district court relied on this circuit’s recent decision in Doe v.

 Purdue University, 928 F.3d 652 (7th Cir. 2019), for two important points. First, the court cited

 Purdue to support its finding that plaintiff Doe had met the standard for showing irreparable



           1
          A copy of the district court’s decision in Doe v. Univ. of Connecticut, No. 20CV92, is attached
 hereto as Exhibit A.
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 harm if the injunction did not issue. Citing the Purdue “stigma-plus” test, the district court

 determined plaintiff Doe has a liberty interest at stake where his legal status is changed because

 he is no longer a student; his reputation is at stake; and career prospects are seriously diminished.

 Ex. A at 5 (citing to Purdue, 692 F.3d at 663). Thus, plaintiff Doe is entitled to meaningful

 procedural protections

        Second, the Connecticut district court also determined that plaintiff Doe met the

 heightened standard for issuance of a mandatory injunction after showing “a clear likelihood of

 success on the merits.” (Ex. A at 4-5). As here, plaintiff Doe argued the University of

 Connecticut deprived him due process, in part, by conducting a hearing that failed to include

 relevant evidence on credibility. Ex. A at 8. Plaintiff Doe showed a likelihood of success in this

 “he said/she said” dispute hinging on credibility because procedural shortcomings arise when

 there is a failure “in exploring the critical issue of credibility.” Id. at 10 (quoting Purdue, 928

 F.3d at 664, for proposition that failure to make any attempt to examine credibility of

 complainant was fundamentally unfair.)

        Given the relevance of this recent district court opinion to the matter under review, we

 respectfully submit this opinion as additional authority supporting issuance of a TRO.


                                                /s/ Eric J. Rosenberg
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